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Fill in this information to identify the case:                Document      Page 1 of 15

Debtor Name ___WALTER PEACOCK_______________________________________________


United States Bankruptcy Court for the District of Columbia
                                         (State)
Case number: ___20-00154 SMT______________________




Official Form 426

Periodic Report Regarding Value, Operations, and Profitability of Entities in Which
the Debtor’s Estate Holds a Substantial or Controlling Interest
                                                                                                                                          12/17


            This is the Periodic Report as of __09/30/20_ on the value, operations, and profitability of those entities in which a
            Debtor holds, or two or more Debtors collectively hold, a substantial or controlling interest (a “Controlled Non-Debtor
            Entity”), as required by Bankruptcy Rule 2015.3. For purposes of this form, “Debtor” shall include the estate of such
            Debtor.
            WALTER PEACOCK holds a substantial or controlling interest in the following entities:
             Name of Controlled Non-Debtor Entity                                         Interest of the Debtor              Tab #

              MLearning Tech, LLC                                                                  100%

            This Periodic Report contains separate reports (Entity Reports) on the value, operations, and profitability of each
            Controlled Non-Debtor Entity.

            Each Entity Report consists of five exhibits.
             Exhibit A contains the most recently available: balance sheet, statement of income (loss), statement of cash flows, and
              a statement of changes in shareholders’ or partners’ equity (deficit) for the period covered by the Entity Report,
              along with summarized footnotes.

             Exhibit B describes the Controlled Non-Debtor Entity’s business operations.

             Exhibit C describes claims between the Controlled Non-Debtor Entity and any other Controlled Non-Debtor Entity.

             Exhibit D describes how federal, state or local taxes, and any tax attributes, refunds, or other benefits, have been
              allocated between or among the Controlled Non-Debtor Entity and any Debtor or any other Controlled Non-Debtor
              Entity and includes a copy of each tax sharing or tax allocation agreement to which the Controlled Non-Debtor
              Entity is a party with any other Controlled Non-Debtor Entity.

             Exhibit E describes any payment, by the Controlled Non-Debtor Entity, of any claims, administrative expenses or
              professional fees that have been or could be asserted against any Debtor, or the incurrence of any obligation to make
              such payments, together with the reason for the entity’s payment thereof or incurrence of any obligation with respect
              thereto.

            This Periodic Report must be signed by a representative of the trustee or debtor in possession.




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          The undersigned, having reviewed the Entity Reports for each Controlled Non-Debtor Entity, and being familiar with the Debtor’s
          financial affairs, verifies under the penalty of perjury that to the best of his or her knowledge, (i) this Periodic Report and the
attached Entity Reports are complete, accurate, and truthful to the best of his or her knowledge, and (ii) the Debtor did not cause the creation

           of any entity with actual deliberate intent to evade the requirements of Bankruptcy Rule 2015.3
          For non-individual
          Debtors:                        _____________________________________________
                                          Signature of Authorized Individual


                                               ____________________________________________
                                     _         Printed name of Authorized Individual

                                      Date _______________ MM / DD / YYYY
          For individual Debtors:



                                          _/s/Walter Leroy Peacock____
                                                                                                      ____________________________________________
                                          Signature of Debtor 1
                                                                                                      Signature of Debtor 2
                                           Walter Leroy Peacock____________________
                                          Printed name of Debtor 1                                     ____________________________________________
                                                                                                      Printed name of Debtor 2
                                          Date 01/09/20_______
                                                                                                      Date _______________

                                         MM / DD / YYYY
                                                                                                              MM / DD / YYYY




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           Exhibit A: Financial Statements for MLearning Tech LLC




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           Exhibit A-1: Balance Sheet for MLearning Tech LLC as of     09/30/20
          [Provide a balance sheet dated as of the end of the most recent 3-month period of the current fiscal year and as of the end
          of the preceding fiscal year.

          Describe the source of this information.] MLearning Tech LLC Balance Sheet.



          Balance Sheets for period ending September 30, 2020
          and June 30, 2020 are attached.




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20-00154-SMT Exhibit A-1: Debtor Walter Leroy Peacock
                                         MLearning Tech LLC
                                            Balance Sheet
                                      As of September 30, 2020

ASSETS                                        LIABILITIES

Current assets                                Current liabilities
  Cash                      $    305.48       Current Debts                              $        -

                                              Business Equity                            $     258.19
                                              Net Income                                 $      47.29
    Total current assets    $    305.48           Total current liabilities and equity   $     305.48
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20-00154-SMT Exhibit A-1: Debtor Walter Leroy Peacock
                                         MLearning Tech LLC
                                            Balance Sheet
                                          As of June 30, 2020

ASSETS                                          LIABILITIES

Current assets                                  Current liabilities
  Cash                      $     258.19        Current Debts                              $        -

                                                Business Equity                            $     (11.72)
                                                Net Income                                 $     269.91
    Total current assets    $     258.19            Total current liabilities and equity   $     258.19
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Debtor Name ___WALTER PEACOCK___________________________________________              Case number_____20-00154 SMT_______________________________




                       Exhibit A-2: Statement of Income (Loss) for MLearning Tech LLC for period ending          09/30/20

           [Provide a statement of income (loss) for the following periods:

           (i) For the initial report:

                a. the period between the end of the preceding fiscal year and the end of the most recent 3-month period of the
                   current fiscal year; and

                b. the prior fiscal year.

           (ii) For subsequent reports, since the closing date of the last report.

            Describe the source of this information.]

           MLearning Tech LLC Profit and Loos Statements.




           Profit and Loss statements for period ending September 30, 2020

           And June 30, 2020 are attached.




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20-00154-SMT: Exhibit A-2 (a): Debtor Walter Leroy Peacock

                   Mlearning Tech LLC
         Profit and Loss Statement (Cash Basis)
                     For The Period
         July 1, 2020 thru September 30, 2020

Consultant's Income:                    $    43,520.00
Misc Credits/Refunds                    $       100.00

Total Income                            $    43,620.00

Business Expenses:
Consultant Fees                              37,700.00
Other Business Expenses                       5,395.53
Payment of Personal Expenses                    477.18
Total Expenses:                              43,572.71

Net Income (Loss)                       $         47.29
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20-00154-SMT: Exhibit A-2 (a): Debtor Walter Leroy Peacock

                   Mlearning Tech LLC
         Profit and Loss Statement (Cash Basis)
                      For The Period
            April 1, 2020 thru June 30, 2020

Consultant's Income:                    $    43,520.00
Misc Credits/Refunds                    $     1,857.33

Total Income                            $    45,377.33

Business Expenses:
Consultant Fees                              37,400.00
Other Business Expenses                       2,241.83
Payment of Personal Expenses                  5,465.59
Total Expenses:                              45,107.42

Net Income (Loss)                       $         269.91
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           Exhibit A-3: Statement of Cash Flows for MLearning Tech LLC for period ending 09/30/20.

            [Provide a statement of changes in cash position for the following periods:

           (i) For the initial report:

                a. the period between the end of the preceding fiscal year and the end of the most recent 3-month period of the
                   current fiscal year; and        Balance as of 06/30/20 $258 .00

                                                       Balance as of 09/30/20 $269.91

                                                                      Change:         (11.91)

                b. the prior fiscal year.

           (ii) For subsequent reports, since the closing date of the last report.

           Describe the source of this information.]       Balance Sheets for June 30, 2020


                                                           And September 30, 2020.




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           Exhibit A-4: Statement of Changes in Shareholders’/Partners’ Equity (Deficit) for [Name of Controlled Non-Debtor Entity] for period
           ending [date]
            [Provide a statement of changes in shareholders’/partners equity (deficit) for the following periods:

           (i) For the initial report:      None.

                a. the period between the end of the preceding fiscal year and the end of the most recent 3-month period of the
                   current fiscal year; and

                b. the prior fiscal year.    None.

           (ii) For subsequent reports, since the closing date of the last report.

            Describe the source of this information.]




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           Exhibit B : Description of Operations for       MLearning Tech LLC -                     ]


           [Describe the nature and extent of the Debtor’s interest in the Controlled Non-Debtor Entity.

           Describe the business conducted and intended to be conducted by the Controlled Non-Debtor Entity, focusing on the
           entity’s dominant business segments.

           Describe the source of this information.    Debtor Statement.


           MLearning Tech LLC is a Pass Through Entity to facilitate receiving payments from consulting work
           Performed by the Debtor.
           Debtor owns 100% of MLearning Tech LLC which is registered in the District of Columbia.




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           Exhibit C : Description of Intercompany Claims


           [List and describe the Controlled Non-Debtor Entity’s claims against any other Controlled Non-Debtor Entity, together with
           the basis for such claims and whether each claim is contingent, unliquidated or disputed. Describe the source of this
           information.]




           None.




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           Exhibit D : Allocation of Tax Liabilities and Assets


           [Describe how income, losses, tax payments, tax refunds, or other tax attributes relating to federal, state, or local taxes
           have been allocated between or among the Controlled Non-Debtor Entity and one or more other Controlled Non-Debtor
           Entities.

           Include a copy of each tax sharing or tax allocation agreement to which the entity is a party with any other Controlled
           Non-Debtor Entity.

           Describe the source of this information.]



                    N/A




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 Exhibit Eotherwise payable by a Debtor: Description of Controlled Non -Debtor Entity’s payments of Administrative Expenses, or Professional
Fees



           [Describe any payment made, or obligations incurred (or claims purchased), by the Controlled Non-Debtor Entity in
           connection with any claims, administrative expenses, or professional fees that have been or could be asserted against
           any Debtor.

           Describe the source of this information.]



                    None.




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